Case 2:22-cv-02789-MSN-cgc Document 97 Filed 01/30/24 Page 1 of 2                          PageID 2843




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                    WESTERN DIVISION



  INTERNATIONAL PAPER                               )
  COMPANY,                                          )
                                                    )
                                Plaintiff,          )
                                                    )
      v.                                            )   Case No. 2:22-cv-2789-MSN-CGC
                                                    )
  BEAZLEY INSURANCE COMPANY,                        )   JURY TRIAL DEMANDED
  INC. and ZURICH AMERICAN                          )
  INSURANCE COMPANY,                                )
                                                    )
                             Defendants.            )

         COVER SHEET LISTING NON-SEALED EXHIBITS IN SUPPORT OF
     INTERNATIONAL PAPER COMPANY’S MOTION FOR PARTIAL SUMMARY
                              JUDGMENT

           Plaintiff International Paper Company submits this notice listing all of its exhibits in

 support of its motion for partial summary judgment, ECF Nos. 94-96, that are not filed under

 seal.

           Exhibit 1.
           Exhibit 2.
           Exhibit 3.
           Exhibit 4.
           Exhibit 5.
           Exhibit 6.
           Exhibit 12.
           Exhibit 13.
           Exhibit 16.
           Exhibit 17.
           Exhibit 18.
           Exhibit 20.
           Exhibit 27.
           Exhibit 28.
           Exhibit 31.
           Exhibit 32.




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Case 2:22-cv-02789-MSN-cgc Document 97 Filed 01/30/24 Page 2 of 2         PageID 2844




 Dated: January 30, 2024            Respectfully submitted,
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                                    s/ John Sylvester

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